Case 1:O4-cv-OO798-PLF-G|\/|H Document 1124-1 Filed 03/08/19 Page 1 of 1

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Mareh 8, 2019

l\/Iagistrate Judge G. l\/Iichael Harvey
l\/Iagistrate Judge, U.S. District Court

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333 Constitution Avenue NW
Washington, D.C. 20001

Re: Unl`led Slales v. All Funa’s Hela’ ar Bank Julius Baer, l:()4-cv-798,
Response to Doeket Entry No. l 123-l

Dear Judge Harvey:

We Write in response to the government’s discovery letter sent on March 6, 2019. We
have no additional information about Alex Lazarenko’s intentions to sit for a deposition beyond
what l\/ls. Beckman has reported in her letter brief. We have no objection to taking Alex
Lazarenko’s deposition shortly after the close of fact discovery to accommodate the Parties’
schedule

As noted in the government’s letter, the government and Pavel Lazarenko have agreed to
take Pavel liazarenko’s 3-hour deposition on April 4, 2019, in San Francisco. I have already
purchased nonrefundable tickets for a family vacation, from March 22 through l\/Iarch 3(). Thus,
We join the government’s request to take this deposition after the close of fact discovery and
appreciate their effort to Work cooperatively.

Sincerely,

gaf /l.l\/wm )71\

.led l\/I. Silversmith

Jl\/lS:mp

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